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		OSCN Found Document:RE REVOCATION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS

					

				
  



				
					
					
						
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				RE REVOCATION OF CREDENTIALS OF REGISTERED COURTROOM INTERPRETERS2019 OK 30Decided: 04/29/2019THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2019 OK 30, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



RE: Revocation of Credentials of Registered Courtroom Interpreters




ORDER


On February 15, 2019, this Court suspended the certificates of several Registered Courtroom Interpreters for failure to comply with the continuing education requirements for calendar year 2018 and/or with the annual certificate renewal requirements for 2019. See 2019 OK 8 (SCAD 2019-17).

The Oklahoma Board of Examiners of Certified Courtroom Interpreters has advised that the interpreters listed below continue to be delinquent in complying with the continuing education and/or annual certificate renewal requirements, and the Board has recommended to the Supreme Court of the State of Oklahoma the revocation of the credential of each of these interpreters, effective April 15, 2019, pursuant to 20 O.S., Chapter 23, App. II, Rules 18 and 20.

IT IS THEREFORE ORDERED that the credential of each of the Registered Courtroom Interpreters named below is hereby revoked effective April 15, 2019.

Linda Allegro
Tania Flores
Emily Salinas
Jazmin Zaragoza

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 29th day of APRIL, 2019.


/S/CHIEF JUSTICE



Gurich, C.J., Darby, V.C.J., Kauger, Winchester, Edmondson, Colbert, Reif and Combs, JJ., concur.







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